              Case
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA
                                                         CRIMINAL NO. DLB-21-0399
                    v.

 ROY C. MCGRATH,

                         Defendant.
                                                   ORDER
         The Court finds, upon consideration of the Consent Motion for Exclusion of Time Under the

Speedy Trial Act, and the conference call held on January 31, 2022, the interests of justice will be

served by continuing the trial date beyond the speedy trial date and outweigh the interests of the public

and the Defendant in a speedy trial, in that:

         a.     the failure to grant this request in this proceeding would be likely to result in a
         miscarriage of justice;

         b.     the requested exclusion of time would provide time for the preparation, filing and
         consideration of pre-trial motions; and

         c.      the failure to set trial beyond the speedy trial date in this proceeding would deny counsel
         for the defendant and attorneys for the Government the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence, and would deny the parties
         continuity of counsel.

         THEREFORE, IT IS HEREBY ORDERED that the period from February 22, 2022 – October

23, 2022, inclusive, shall be excluded from calculation under the Speedy Trial Act in the interests of

justice, pursuant to Title 18, United States Code, Section 3161(h)(1) and (7), for the reasons set forth

above.




Date: ________________
       March 8, 2022                            __________________________________
                                                Deborah L. Boardman
                                                United States District Judge
